

Matter of Frantz v Venettozzi (2017 NY Slip Op 07895)





Matter of Frantz v Venettozzi


2017 NY Slip Op 07895


Decided on November 9, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 9, 2017

523809

[*1]In the Matter of JEAN L. FRANTZ, Petitioner,
vDONALD VENETTOZZI, as Acting Director of Special Housing and Inmate Disciplinary Programs, Respondent.

Calendar Date: September 19, 2017

Before: McCarthy, J.P., Egan Jr., Rose, Clark and Pritzker, JJ.


Jean L. Frantz, Elmira, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Victor Paladino of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of the Commissioner of Corrections and Community Supervision finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
McCarthy, J.P., Egan Jr., Rose, Clark and Pritzker, JJ., concur.

ADJUDGED that the determination is confirmed, without cost, and petition dismissed.








